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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   ) Case No. 1:21-cr-175-TJK
                                                   )
                        v.                         )
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

   NORDEAN’S RESPONSE TO THE GOVERNMENT’S PROPOSED POST-TRIAL
                            SCHEDULE

       The government filed a proposed schedule “for post-trial briefing and for sentencing

dates.” ECF No. 806, p. 1. The schedule contemplates sentencing hearings being held “during

the week of August 28, 2023.” Id., p. 2. Defendants, who were arrested and charged over two

years before that date, do not agree to the government’s proposal. For whatever reason, the

government has proposed a schedule that would considerably delay sentencing—and the appeals

process—in this case. It should be denied.

        Post-trial motions. The government proposes that all post-trial motions be filed “no

later than June 7, 2023.” ECF No. 806, p. 1. That allots far more time than is necessary.

Motions filed under Rule 29 and Rule 33 are made within 14 days of the verdict. Fed. R. Crim.

P. 29(c)(1); Fed. R. Crim. P. 33(b)(2). That is May 18. Here, the parties’ post-trial briefing is

almost certainly for purposes of preservation. The government’s opposition briefs would be due

June 1, 2023. Replies would be due June 8.

       Sentencing memoranda. The government proposes that sentencing memoranda be filed

“no later than July 27, 2023.” ECF No. 806, p. 2. It provides no explanation as to why the

parties would need over two months to draft sentencing memoranda in this case. There is none.



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The government represents that the final Presentence Report will be filed on July 13, 2023. The

parties do not require 14 days to assess the final PSR; they have spent nearly half a year hearing

the facts in trial and over two years engaging in the relevant legal arguments. Sentencing

memoranda should be filed no later than July 20. Responses, if any, should be filed July 27.

       Sentencing hearings. The hearings should be held the week of July 31. In this

courthouse, it is standard for parties to submit sentencing memoranda a week before the

sentencing hearing; a full eleven days here is more than sufficient.

       Sentencing must be conducted “without unnecessary delay.” Fed. R. Crim. P. 32(b)(1).

Far from being necessary, the delays proposed by the government are not even sought by the

defendants. They actively oppose the delays. The government cites three cases featuring long

delays between verdict and sentencing. ECF No. 806, pp. 3-4. However, it does not contend

that the defendants in those cases opposed delayed sentencing. Often, a defendant will agree to

and actively seek out deferred sentencing. That is not the case here for any defendant.

          Notably, the government’s scheduling proposal appears to contemplate more time for

briefing than the parties used in all other phrases of this case. Yet the parties need less time in

this round—not more—given that many of the legal and factual arguments have been made

repeatedly over the course of this matter. Of course, it would not be appropriate to delay

sentencing to advance the government’s appellate strategy and goals in this case and others. For

all these reasons, sentencing hearings should be held the week of July 31.

Dated: May 12, 2023                                    Respectfully submitted,


                                                       /s/ David B. Smith
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                                    Certificate of Service

       I hereby certify that on the 12th day of May, 2023, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s): counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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